
PER CURIAM.
In December 1985 this Court adopted revisions to the sentencing guidelines proposed by the guidelines commission. The Florida Bar re Rules of Criminal Procedure (Sentencing Guidelines), 482 So.2d 311 (Fla.1985). The legislature subsequently adopted those revisions except for the amendments to rule 3.988(e) which were designed to produce an increased penalty for residential burglaries and for prior burglary convictions. We therefore delete those changes from rule 3.988(e), effective immediately.
It is so ordered.
MCDONALD, C.J., and ADKINS, BOYD, OVERTON, EHRLICH, SHAW and BARK-ETT, JJ., concur.
